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                                   UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,            )
 7                                        )                2:14-cr-00321-GMN-NJK-1
                                          )
 8                   Plaintiff-Appellee,  )
               vs.                        )
 9                                        )
   KEVIN HALL,                            )
10                                        )
                     Defendant-Appellant. )                 AMENDED ORDER
11 ____________________________________)
12
            At the Sentencing and Disposition held on September 6, 2017, this Court ordered the CJA
13
     Coordinator to appoint appellate counsel for defendant Kevin Hall.
14
            ACCORDINGLY, IT IS HERE BY ORDERED that Angela H. Dows is appointed to
15
     represent Kevin Hall for his appeal. Ms. Dow’s address is 1333 North Buffalo Drive, Suite 210, Las
16
     Vegas, NV 89128 and her phone number is 702-794-4411.
17
            Former counsel, Jennifer Waldo’s office is directed to forward the file to Ms. Dows
18
     forthwith.
19
            The clerk is directed to forward a copy of this order to the Clerk of the 9th Circuit Court of
20
     Appeals at counselappointment@ca9.uscourts.gov.
21
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22          DATED this          day of September, 2017.

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24                                                         UNITED STATES DISTRICT JUDGE
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